                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )    No. 3:11-00012-3
v.                                             )    Judge Sharp
                                               )
BRIAN VANCE                                    )
                                               )


                                          ORDER

       After Defendant Brian Vance filed a motion seeking dismissal of the Superceding Indictment

in this case, he moved to strike that motion and, contemporaneously therewith, requested a change

of plea hearing.

       Based on these filings, Defendant’s Motion to Strike Superceding Indictment (Docket No.

1515) is hereby GRANTED, and his Motion to Dismiss Superceding Indictment (Docket No. 1430)

is hereby DENIED AS MOOT. Defendant’s Motion to Set a Change of Plea Hearing (Docket No.

1517) is hereby GRANTED and a change of plea hearing is hereby set for Thursday, May 23, 2013,

at 1:30 p.m.

       IT IS SO ORDERED.



                                                    ________________________________
                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012       Document 1518        Filed 05/17/13     Page 1 of 1 PageID #: 7163
